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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


AIDS VACCINE ADVOCACY
COALITION, et al.,

          Plaintiffs,
                                          Civil Action No. 25-400
           v.

UNITED STATES DEPARTMENT
OF STATE, et al.,

          Defendants.


                           NOTICE OF APPEARANCE

      Please enter the appearance of Nicolas Sansone as counsel for Plaintiffs.

Dated: February 10, 2025                   Respectfully submitted,

                                           /s/ Nicolas Sansone
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